         Case
          Case2:02-cr-00674-JCM-NJK
                2:02-cr-00674-JCM-NJK Document
                                      Document942  Filed07/13/17
                                               941 Filed 07/13/17 Page
                                                                   Page11
                                                                        ofof
                                                                           33



 1   MARIO D. VALENCIA
     Nevada Bar No. 6154
 2   1055 Whitney Ranch Dr., Ste. 220
     Henderson, NV 89014
 3   702-940-2222
     valencia.mario@gmail.com
 4   Counsel for Chaofan Xu
 5
                                  UNITED STATES DISTRICT COURT
 6
                                         DISTRICT OF NEVADA
 7
     UNITED STATES OF AMERICA,           )                 2:02-cr-00674-JCM-NJK
 8                                       )
           Plaintiff,                    )
 9                                       )                 STIPULATION TO AMEND
     v.                                  )                 THE BRIEFING SCHEDULE
10                                       )
     CHAO FAN XU; GUO JUN XU; WAN        )
11   FANG KUANG; and YING YI YU,         )
                                         )
12         Defendants.                   )
     ___________________________________ )
13
             The parties — the United States of America, Chaofan Xu, Guojun Xu, Wanfang Kuang,
14
     and Yingyi Yu — stipulate to amend the briefing schedule set out in the court’s April 21, 2017
15
     Order (Doc. 928). According to that order, the parties are to file answering briefs by Monday,
16
     July 17, 2017, and then file objections to the revised presentence report by Monday, August 7,
17
     2017. Id. at 1.
18
             The stipulated and proposed amendment. The parties have agreed and stipulate to
19
     extend the due date for the answering briefs from Monday, July 17, 2017 to Monday, August 7,
20
     2017. The parties will file their answering briefs and objections to the revised presentence report
21
     that day.
22
             Reasons for the extension. Counsel for Guojun is going to have surgery on her ankle,
23
     Monday, July 17, 2017. She will be out on medical leave from July 17, 2017 through July 28,
24
     2017.
25
             Furthermore, Chaofan and Guojun still have not been transferred to Las Vegas for the
26
     resentencing hearing. Counsel for defendants need time to meet with their clients, to go over the
27
     revised presentence report, go over any objections to and errors in the revised report, to discuss
28
         Case
          Case2:02-cr-00674-JCM-NJK
                2:02-cr-00674-JCM-NJK Document
                                      Document942  Filed07/13/17
                                               941 Filed 07/13/17 Page
                                                                   Page22
                                                                        ofof
                                                                           33



 1   the issues raised thus far in the sentencing briefs, to prepare appropriate responses for the
 2   answering brief, and to prepare for all other aspects of the sentencing hearing, e.g., prepare for
 3   and present all matters counsel believe are appropriate under 18 U.S.C. § 3553 for the court to
 4   consider in sentencing defendants. And, as the court knows, once the defendants are transferred
 5   to Las Vegas for the sentencing hearing, they will be incarcerated in the Nevada Southern
 6   Detention Center in Pahrump, Nevada. That is a 45 minute drive, or so, one way from Las Vegas.
 7   Schedules will need to be rearranged and other accommodations made so that counsel can travel
 8   to Pahrump to meet with their clients to do all of the above. This is particularly true since we
 9   currently don’t have an exact date when Chaofan and Guojun will be in Las Vegas.
10           The parties have discussed, and understand, that all of this cannot be accomplished in one
11   client visit, and thus counsel will need about a two-week window of time to meet with their
12   clients as needed to do all of the above before filing their answering briefs and objections to the
13   revised presentence report.
14           The latest information provided to counsel for the United States indicates that Chaofan
15   and Guojun are expected to be in Las Vegas by July 24 or 25, 2017. Based on this information,
16   and the need for about a two-week window of time for counsel to meet with their clients, as
17   discussed above, the parties agreed to extend the due date for the answering briefs and enter into
18   this stipulation.
19           The sentencing hearing date. For now, the parties respectfully request the court keep the
20   current sentencing date of Monday, August 14, 2017. See Doc. 928 at 2.
21           This, of course, is based on the current expectation that Chaofan and Guojun will be in
22   Las Vegas by July 24 or July 25, 2017, so that counsel can meet with them before filing
23   answering briefs and objections to the revised report. And, it’s based on the assumption that one
24   week — i.e., from Monday, August 7, 2017 to Monday, August 14, 2017 — gives the court the
25   time it needs to read all of the briefing and objections to the revised presentence report before the
26   sentencing hearing.
27
28                                                     2
         Case
          Case2:02-cr-00674-JCM-NJK
                2:02-cr-00674-JCM-NJK Document
                                      Document942  Filed07/13/17
                                               941 Filed 07/13/17 Page
                                                                   Page33
                                                                        ofof
                                                                           33



 1          If Chaofan and Guojun do not arrive in Las Vegas by July 24 or July 25, 2017, the parties
 2   have agreed to extend the time to file the answering briefs and objections to the revised
 3   presentence report and the sentencing hearing date, accordingly, keeping in mind the two-week
 4   window of time discussed above to give counsel time to meet with their clients before filing the
 5   briefs and objections (e.g., if Chaofan and Guojun arrive one week later, say around July 31 or
 6   August 1, 2017, the briefs and objections will be filed one week later too, by August 14, 2017
 7   instead of August 7, 2017, and the sentencing hearing will be continued for a week, too, from
 8   August 14 to August 21, 2017, or a date thereafter convenient for the court).
 9          Likewise, if one week does not give the court enough time to read all of the briefs and
10   objections, the parties understand that the court may need to move the current sentencing date of
11   August 14, 2017 to a time thereafter that is convenient for the court and gives it enough time to
12   prepare for the hearing.
13          But for now, the parties respectfully request the court keep the current sentencing hearing
14   date of Monday, August 14, 2017.
15          DATED: July 13, 2017.
16
17    s/ Marty Woelfle                                     s/ Mario D. Valencia
     MARTY WOELFLE                                        MARIO D. VALENCIA
18   Counsel for the United States                        Counsel for Chaofan Xu
19
      s/ Amy B. Cleary                                     s/ Loren Graham
20   AMY B. CLEARY                                        LOREN GRAHAM
     Counsel for Guojun Xu                                Counsel for Yingyi Yu
21
22    s/ Chad A. Bowers
     CHAD A. BOWERS
23   Counsel for Wanfang Kuang                     IT IS SO ORDERED July 13, 2017.
24
25
                                                   ____________________________________
26                                                 UNITED STATES DISTRICT JUDGE
27
28                                                    3
